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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               PENSACOLA DIVISION

UNITED STATES OF AMERICA,

vs.                                                   Case No. 3:10cr47/LAC

ANTHONY DANI FOUNTAIN

_____________________________________________________________________

                            ACCEPTANCE OF PLEA OF GUILTY

       Pursuant to the Report and Recommendation of the United States Magistrate Judge, to which
there have been no timely objections, and subject to this Court’s consideration of the Plea Agreement
pursuant to Fed. R. Crim. P. 11, the plea of guilty of the Defendant, ANTHONY DANI FOUNTAIN,
to Counts I and II of the Indictment is hereby ACCEPTED. All parties shall appear before this
Court for sentencing as directed.
       DONE and ORDERED this 30th day of June, 2010.


                                              s /L.A. Collier
                                              LACEY A. COLLIER
                                              SENIOR UNITED STATES DISTRICT JUDGE
